 

 

 

Case 14-15048-AJC Doc 78 Filed 03/14/17 Page 1 of 2

é Stacy Bravo

From: America Alvarez [aalvarez@coronapa.com]

Sent: Saturday, March 04, 2017 9:12 AM

To: ‘Stacy Bravo'

Ce: bk1@coronapa.com

Subject: FW: U.S. Bankruptcy Court, Southern District of Florida - Undeliverable Notice, In re: Yolanda
Uribe, Case Number: 14-15048, AJC, Ref: [p-105303652]

Attachments: B_P11415048CGFD440241.PDF

 

From: USBankruptcyCourts@noticingcenter.com [mailto: USBankruptcyCourts@noticingcenter.com]

Sent: Saturday, March 4, 2017 9:11 AM

To: bk@coronapa.com

Subject: U.S. Bankruptcy Court, Southern District of Florida - Undeliverable Notice, In re: Yolanda Uribe, Case Number:
14-15048, AJC, Ref: [p-105303652]

 

It’

Notice of Undeliverable Mail! to Debtor/Debtor's Attorney

MAR 13 200

March 5, 2017
From: United States Bankruptcy Court, Southern District of Florida

Re: U.S. Courts, Bankruptcy Noticing Center - Undeliverable Notice
In re: Yolanda Uribe, Case Number 14-15048, AJC

TO THE DEBTOR/DEBTOR'S ATTORNEY:

The attachment could not be mailed to the notice recipient(s) listed below because the United States Postal Service
(USPS) has determined that those addresses in the case mailing list are undeliverable.

Please be advised that dischargeability of a debt may be affected if a creditor fails to receive certain notices. You should
determine whether an address should be updated.

NOTE: No further notices will be mailed to the notice recipient(s) listed below, if the USPS continues to designate
the address as undeliverable, until the address is updated in accordance with local court policy, which may allow
for use of this form, a separate notice of change of address, and/or an amended schedule. THIS FORM CANNOT
BE USED TO ADD A NEW CREDITOR NOT PREVIOUSLY LISTED ON YOUR SCHEDULES.

If this form is used by your court in place of filing a separate notice of change of address and/or an amended schedule: 1)
determine the updated address and send the attachment to each recipient below; 2) type or print legibly each updated
address below; 3) sign and date the form; and 4) file this form electronically via CM/ECF (for all registered users) or mail
the form to:

U.S. Bankruptcy Court
Miami

 

Undeliverable Address:
Cynergy Data
c/o Merchant Services
sa ieee

 

Case 14-15048-AJC Doc 78 Filed 03/14/17 Page 2 of 2
30-30 47th Ave

«* Long Island City, NY 11101

Reason Undeliverable: FORWARDING ADDRESS WITH USPS: 2001 WESTSIDE PKWY STE 155, ALPHARETTA GA
30004-8905 FORWARDING ORDER HAS EXPIRED

THE UPDATED ADDRESS IS:
ZO. neyubridne oad, ole 220
fhekuv lk py (4804

ncsaparts fad hazel?

Signature of Debtof or Debtors Attorney Date

 

The Bankruptcy Noticing Center does not respond to messages regarding bypass notification. Please contact the
U.S. Bankruptcy Court where the case is pending with questions or comments.
